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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNIVERSAL CONNECTIVITY
TECHNOLOGIES INC.,

               Plaintiff,
                                                       Civil Action No.: 2:23-CV-00449
v.
                                                         JURY TRIAL DEMANDED

LENOVO GROUP LIMITED.

               Defendant.


                                 NOTICE OF COMPLIANCE
       Defendant Lenovo Group Limited hereby notifies the Court that it has served Document

Productions and Supplemental Responses on counsel for Plaintiff via electronic mail on October

11, 2024 in compliance with the Court’s October 2, 2024, Order [Dkt. No.44]. LGL has also

notified counsel for Plaintiff that it will work cooperatively to address any questions or concerns

regarding the same.




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Dated: October 11, 2024             Respectfully submitted,

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                                    Attorneys   for   Defendant   Lenovo    Group
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                               CERTIFICATE OF SERVICE

       The undersigned counsel hereby certifies that a true and correct copy of the above and

foregoing document has been served via the Court’s CM/ECF system per Local Rule CV-5(a)(3)

upon all counsel of record on October 11, 2024.
                                                       /s/ Melissa R. Smith
                                                      ________________________
                                                      Melissa R. Smith




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